       Case 1:23-cv-01780-SLS           Document 21         Filed 05/09/25      Page 1 of 17




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 STUDENT BORROWER PROTECTION
 CENTER,

                 Plaintiff,
                                                             Civil Action No. 23 - 1780 (SLS)
         v.                                                  Judge Sparkle L. Sooknanan

 UNITED STATES DEPARTMENT OF
 EDUCATION,

                 Defendant.


                                  MEMORANDUM OPINION

       The Student Borrower Protection Center (SBPC) brought this lawsuit under the Freedom

of Information Act (FOIA), 5 U.S.C. § 552, to compel the Department of Education to release

certain records regarding its policy of writing off the defaulted federal student loans of incarcerated

borrowers. The Department of Education has since produced the requested records and the Parties

have worked together to resolve their disagreements about the FOIA request. What remains is a

motion from SBPC requesting $56,962.50 in attorneys’ fees and costs. A FOIA plaintiff is only

eligible for attorneys’ fees and costs upon a showing that it “substantially prevailed” in the

underlying litigation. Church of Scientology of Cal. v. Harris, 653 F.2d 584, 587 (D.C. Cir. 1981).

Because SBPC has not made such a showing, the Court denies its motion.

                                         BACKGROUND

       A.      Statutory Background

       “Congress enacted FOIA in 1966 to grant a right of public access to governmental

information ‘long shielded unnecessarily from public view[.]’” Martin v. Dep’t of Just., 488 F.3d

446, 453 (D.C. Cir. 2007) (citing EPA v. Mink, 410 U.S. 73, 80 (1973), superseded by statute,
       Case 1:23-cv-01780-SLS          Document 21        Filed 05/09/25      Page 2 of 17




Freedom of Information Act, Pub. L. No. 93–502, § 2(a), 88 Stat. 1563 (1973)). FOIA requires

that “records and material in the possession of federal agencies be made available on demand to

any member of the general public.” NLRB v. Robbins Tire & Rubber Co., 437 U.S. 214, 221

(1978); see also 5 U.S.C. § 552. It allows the public to “pierce the veil of administrative secrecy

and to open agency action to the light of public scrutiny.” ACLU v. U.S. Dep’t of Just., 655 F.3d

1, 5 (D.C. Cir. 2011) (quoting Dep’t of the Air Force v. Rose, 425 U.S. 352, 361 (1976) (internal

quotation marks omitted)). Even though the Act was “broadly conceived,” EPA, 410 U.S. at 80, it

includes nine “carefully structured . . . exemptions,” NLRB, 437 U.S. at 220–221. These

exemptions demonstrate that the public’s right to information is “‘not absolute’ and that disclosure

of certain information ‘may harm legitimate governmental or private interests.’” Martin, 488 F.3d

at 453 (quoting Summers v. DOJ, 140 F.3d 1077, 1080 (D.C. Cir. 1998)). FOIA permits courts to

award “reasonable attorney fees and other litigation costs reasonably incurred” in FOIA litigation

“in which the complainant has substantially prevailed.” 5 U.S.C. § 552(a)(4)(E)(i).

       B.      Factual and Procedural Background

       SBPC is a nonprofit that “engages in advocacy, research, and litigation . . . to rein in

industry abuses, protect borrowers’ rights, and advance economic opportunity for the next

generation of students.” Compl. ¶ 7, ECF No. 1. Its lawsuit names the Department of Education as

the sole Defendant, a “federal agency . . . responsible for administering federal student loan and

grant programs in the United States.” Id. ¶ 8.

       SBPC’s goal is to “alleviat[e] the student loan debt burden for all Americans.” See Pl.’s

Mot. for Att’y Fees & Costs (Pl.’s Mot) at 12, ECF No. 18 (emphasis in original) (citing See Who

We Are, Student Borrower Protection Ctr., https://perma.cc/GT78-Y3BH). True to its mission,

SBPC has published multiple works on the “topic of student loan borrowers who are incarcerated”




                                                 2
       Case 1:23-cv-01780-SLS           Document 21       Filed 05/09/25      Page 3 of 17




and “maintains a website” that provides these individuals “information about their loan options.”

Pl.’s Mot. at 11–12; see also Student Loan Debt Relief for Incarcerated Borrowers, Student

Borrower Protection Ctr., https://perma.cc/2VZY-2Y4M.

       According to SBPC, the Department of Education “has a long-standing policy of writing

off as uncollectable the student loans of incarcerated borrowers who are incarcerated for periods

of ten years or more.” Pl.’s Mot. at 1. SBPC claims that this policy is “not widely known,” resulting

in “few” applications from incarcerated borrowers, unclear qualifications, and inconsistent

application of the program. Id. To address this problem, SBPC submitted a FOIA request to the

Department of Education on November 29, 2021, “seeking documents that would provide insight

into this program and requesting a fee waiver.” Pl.’s Mot. at 1; see also Ex. 1, ECF No. 18-2.

SBPC asked for: (1) “documents, communications, reports, audits, records, and data related to the

number of borrowers who have secured discharge because of incarceration lasting ten years or

more”; (2) “the number of applications and/or requests for this discharge that borrowers have ever

submitted”; and (3) “the number of currently incarcerated or likely incarcerated people who owe

on federal student loan debt,” among other things. Pl.’s Mot. at 2.

       On December 1, 2021, a government information specialist at the Department of Education

acknowledged receipt of the request and “asked for clarification regarding the date range[.]” Pl.’s

Mot. at 2. SBPC responded on the same day that the date range should be the “last decade.” Id.; see

also Pl.’s Mot., Declaration of Benjamin Kaufman (Kaufman Decl.) ¶ 4; ECF No. 18-1. On

December 14, 2021, SBPC received an email from the agency stating that the FOIA request was

“in process.” Kaufman Decl. ¶ 6. About two weeks later, SBPC received another email stating that

the FOIA request was “[o]n [h]old.” Id. ¶ 7; see also Ex. 6, ECF No. 18-7. When SBPC asked

about the change in status, the Department of Education advised that the agency was “unable to




                                                 3
       Case 1:23-cv-01780-SLS           Document 21         Filed 05/09/25      Page 4 of 17




process [the] request” because it “does not reasonably describe the records sought[.]” See Ex. 10,

ECF No. 18-11. After SBPC addressed the clarifications, the agency returned the status to “in

process.” Kaufman Declaration ¶ 10; see also Ex. 11, ECF No. 18-12; Ex. 12, ECF No. 18-13. 1

On January 14, 2022, the Department of Education emailed a “20-Day Status Notification” to

SBPC, which “indicated that [the agency] was ‘unable to provide an estimated completion date’

for the FOIA request.” Kaufman Decl. ¶ 11; see also Ex. 13, ECF No. 18-14.

       On June 9, 2022, SBPC asked the agency for an update, noting that it had been “6 months”

since the last notification. Kaufman Decl. ¶ 12; see also Ex. 14, ECF No. 18-15. SBPC asserts that

the agency provided “no response,” Pl.’s Mot. at 1, which the Department of Education does not

dispute.

       A year later, SBPC filed this lawsuit alleging that the agency had “failed to conduct an

adequate search for the records requested” and “withheld such records without a proper

explanation or denial.” Compl. ¶ 23. The Department of Education answered on July 27, 2023,

arguing, inter alia, that it had “exercised due diligence in processing [the] Plaintiff’s FOIA request”

and that “exceptional circumstances” existed “necessitating additional time for Defendant to

continue its processing of the request.” Answer at 7, ECF No. 8 (citing 5 U.S.C. § 552(a)(6)(C)).

In a Joint Status Report, the agency then contended “that the Plaintiff’s FOIA request did not

‘reasonably describe[]’ the records sought under 5 U.S.C. § 552(a)(3)(A).” Jt. Status Rep. (Aug.

11, 2023) at 1, ECF No 9. The Parties asked the Court to “postpone the parties’ joint submission




1
  The Defendant claims that the “vast majority of [the] Plaintiff’s original request was premised
on a misunderstanding.” Def.’s Opp’n at 2. It claims that SBPC incorrectly asked for
“applications” for the incarcerated borrowers write-off program when “[t]here is no entitlement to
a ‘discharge’ for incarceration in excess of 10 years.” Def.’s Opp’n at 4. Even if true, this only
underscores how little public information was available about the program.


                                                  4
       Case 1:23-cv-01780-SLS              Document 21      Filed 05/09/25   Page 5 of 17




of a briefing schedule so that they could attempt to resolve the request without burdening the

Court” as they had narrowed the request. Pl.’s Mot. at 5.

        Two months later, on November 9, 2023, the Department of Education released its first

series of documents, providing SBPC with “over 60 pages of responsive documents related to the

policies and procedures that [the agency] and its contractors used when working with incarcerated

borrowers.” Pl.’s Mot. at 5; see also Ex. 15, ECF No. 18-17. The agency made additional

productions on November 17, 2023, see Ex. 16, ECF No 18-18; December 12, 2023, see Ex. 17,

ECF No. 18-19; and December 19, 2023, see Ex. 18, ECF No. 18-20. The Department of Education

sent its final response to the Plaintiff in December 2023. See Def.’s Opp’n at 4. SBPC reviewed

the documents from February to March 2024, then conferred with the agency about other

documents that “were responsive to SBPC’s request” that it “identified through references in the

initial productions[.]” Pl.’s Mot. at 6.

        In February 2024, SBPC “sent [the agency] a series of follow-up questions and/or

identified documents that it contend[ed] [were] missing but within the scope of the [] FOIA

request.” Jt. Status Rep. at 1 (Feb. 14, 2024), ECF No. 13. The Department of Education responded

that SBPC might need to file a new FOIA request to obtain those documents. Id. In March, April,

May, and June 2024, the agency “made voluntary disclosures” and answered SBPC’s questions

about the documents “in good faith, but without any corresponding duty under the FOIA.” Def.’s

Opp’n at 4. The Parties continued to confer, and the agency released a supplemental response to

SBPC on June 11, 2024, including over 400 pages of documents. Pl.’s Mot. at 6; see also Ex. 21,

ECF No. 18-23. According to the agency, “the control responses [the] Plaintiff sought in their

follow up requests [were] not responsive to the FOIA request,” Def.’s Opp’n, Declaration of

Nkechinyere Ezekwe (Ezekwe Declaration) ¶ 50, ECF No. 19-1, and thus “outside the bounds of




                                                  5
       Case 1:23-cv-01780-SLS            Document 21        Filed 05/09/25       Page 6 of 17




[SBPC’s] written request,” Def.’s Opp’n at 4, ECF No. 19. On July 2, 2024, SBPC “informed [the

agency] that it had finished reviewing all of the productions and had no further questions.” Pl.’s

Mot. at 6.

       The next day, SBPC sent the Department of Education an offer to “settle the case in

exchange for ten thousand dollars in attorney fees and production of the remaining documents.”

Pl.’s Mot. at 6; see also Pl.’s Mot., Declaration of R.T. Winston Berkman-Breen ¶ 2, ECF No.

18- 27. On August 26, 2024, the agency declined the settlement offer, explaining that it “did not

believe [the] Plaintiff was eligible for fees under the FOIA statute.” Pl.’s Mot. at. 7. After “multiple

unsuccessful attempts to resolve [the] matter,” the Parties proceeded to briefing. Pl.’s Mot. at 7;

see also Jt. Status Rep. (Nov. 11, 2024), ECF No. 17. SBPC filed a Motion for Attorney Fees and

Costs, Pl.’s Mot., which the Department of Education opposed, Def.’s Opp’n. Ultimately, SBPC

seeks $56,962.50 in attorneys’ fees and costs, of which 69 percent represents fees-on-fees work,

see Pl.’s Reply at 21, ECF No. 20. These are fees incurred while “drafting emails about fees or

creating the [] motion,” Def.’s Opp’n at 4–5, and “drafting and submitting [the] reply brief,” Pl.’s

Reply at 21. The motion is fully briefed and ripe for resolution. See Def’s Opp’n; Pl.’s Reply.

                                       LEGAL STANDARD

       Courts may award “reasonable attorney fees and other litigation costs reasonably incurred”

in FOIA litigation. 5 U.S.C. § 552(4)(E)(i). A FOIA plaintiff must demonstrate both “eligibility”

and “entitlement” to fees and costs. Brayton v. Off. of the U.S. Trade Representative, 641 F.3d

521, 524 (D.C. Cir. 2011). Eligibility is a “threshold inquiry.” McKinley v. Fed. Hous. Financy

Agency, 174 F. Supp. 3d 220, 222 (D.D.C. 2012). If a court determines that the plaintiff is ineligible

for fees and costs, it “need not consider whether the plaintiff is entitled to [them].” ACLU v. U.S.

Dep’t of Energy, 2024 WL 5484078, at *3 (D.D.C. Dec. 23, 2024) (cleaned up). To establish

eligibility, a plaintiff must demonstrate that it “substantially prevailed” in the litigation.


                                                   6
       Case 1:23-cv-01780-SLS           Document 21        Filed 05/09/25      Page 7 of 17




§ 552(a)(4)(E). This requires a showing that the plaintiff obtained relief through a “judicial order,

or an enforceable written agreement or consent decree,” or by obtaining a “voluntary or unilateral

change in position by the agency, if the complainant’s claim is not insubstantial.”

§ 552(a)(4)(E)(ii)(I)–(II). The second prong of the statute requiring a voluntary or unilateral

change in the agency’s position is referred to as the “catalyst theory.” Grand Canyon Tr. v.

Bernhardt, 947 F.3d 94, 95 (D.C. Cir. 2020) (citation omitted).

                                           DISCUSSION

       In the absence of Court-ordered disclosure, SBPC relies only on the catalyst theory to

establish its eligibility for attorneys’ fees and costs. SBPC argues that the Department of Education

did not release documents until “well after” the lawsuit was filed. Pl.’s Mot. at 8–9. And it contends

that the lawsuit “accelerated” the agency’s release of documents. See id. at 9. The Department of

Education counters that SBPC cannot show a voluntary or unilateral change in the agency’s

position because it had been processing SBPC’s FOIA request for more than a year before this

lawsuit. Def.’s Opp’n at 9. And the record bears that out. Based on the Parties’ submissions, SBPC

has not demonstrated its eligibility for attorneys’ fees and costs under the statute.

       The “key question” under the catalyst theory is “whether ‘the institution and prosecution

of the litigation cause[d] the agency to release the documents obtained during the pendency of the

litigation[.]’” Calypso Cargo Ltd. v. U.S. Coast Guard, 850 F. Supp. 2d 1, 4 (D.D.C. 2011)

(alterations in original) (internal citations and quotation marks omitted). Whether a plaintiff has

sparked this type of change is “largely a question of causation.” Mobley v. Dep’t of Homeland

Sec., 908 F. Supp. 2d 42, 46–47 (D.D.C. 2012) (citation and internal quotations omitted). When

“disclosure is triggered by events unrelated to the pending lawsuit, the causal nexus is missing,

and the requester cannot be deemed a ‘prevailing party[.]’” Citizens for Resp. & Ethics in




                                                  7
       Case 1:23-cv-01780-SLS            Document 21        Filed 05/09/25       Page 8 of 17




Washington v. DOJ, 83 F. Supp. 3d 297, 303 (D.D.C. 2015) (noting that this “prevent[s] plaintiffs

from being the beneficiaries of purely extrinsic factors”).

        Courts also consider “whether the agency, upon actual and reasonable notice of the request,

made a good faith effort to search out material and to pass on whether it should be disclosed.”

Church of Scientology of Cal., 653 F.2d at 588 (citing Cox v. United States Dep’t of Justice, 601

F.2d 1, 6 (D.C. Cir. 1979). And they take into account “administrative delays due to backlogs of

FOIA requests, the volume of responsive records requiring processing, the necessity of inter-

agency searches and responses, or a combination of these factors.” Codrea v. Bureau of Alcohol,

Tobacco, Firearms & Explosives, 272 F. Supp. 3d 49, 53–54 (D.D.C. 2017). “At bottom, then, the

question is whether hard evidence—beyond temporal proximity—supports the inference that the

plaintiff’s lawsuit caused the document release or other requested relief.” Am. First Legal

Foundation, 2024 WL 5484078, at *2 (citing Conservation Force v. Jewell, 160 F. Supp. 3d 194,

206 (D.D.C. 2016)). Courts “look at the circumstances surrounding disclosure” when making this

determination. Grand Canyon Tr., 311 F. Supp. 3d at 389.

        A.      Temporal Proximity

        SBPC principally relies on timing to establish that this lawsuit was the catalyst to the

agency producing documents. It points out that “[t]he agency made no communications for one

and a half years, and only began to search for and produce documents after this action was filed.”

Pl.’s Mot. at 1–2; see also id. at 8 (noting that the Department of Education’s failure to respond

“for a year and a half, or even provide SBPC with an estimated production date, as required by

FOIA, provides a clear inference that the [agency] ‘forgot about, or sought to ignore’ SBPC’s

request”) (citations omitted). And it claims that “[b]ut for this litigation, it is highly unlikely that

[the agency] would have fulfilled its statutory obligations.” Pl.’s Reply at 1. The Court is




                                                   8
       Case 1:23-cv-01780-SLS            Document 21       Filed 05/09/25    Page 9 of 17




unconvinced. There is virtually no support for that claim in the record. And the Department of

Education has provided evidence that it was processing SBPC’s FOIA request for more than a year

before this lawsuit.

        Nkechinyere Ezekwe, a FOIA coordinator in the Department of Education’s Federal

Student Aid Program, submitted an extremely detailed sixteen-page declaration that rebuts SBPC’s

claims. See Ezekwe Declaration. That declaration, which is afforded a “presumption of good

faith,” see SafeCard Servs., Inc. v. Sec. & Exch. Comm’n, 926 F.2d 1197, 1200 (D.C. Cir. 1991)

(“Agency affidavits are accorded a presumption of good faith, which cannot be rebutted by ‘purely

speculative’ claims[.]”), carries the day for three reasons.

        First, Ms. Ezekwe recounts that the agency immediately assigned the FOIA request,

Ezekwe Declaration ¶ 8, and sent its “internal determination letter” to SBPC within two months

of receiving the FOIA request, id. ¶ 13; see also Ex. 13, ECF No. 18-14. This is significant, as it

demonstrates the agency’s intent to comply with the request. See, e.g., WP Co. LLC v. U.S. Dep’t

of State, 506 F. Supp. 3d 11, 17 (D.D.C. 2020) (holding that the requester was ineligible for fees

in part because “[u]pon receiving the FOIA request (and prior to suit’s commencement), the

Department notified [the requester] that it would be ‘processed as quickly as possible’” and that

“seems to have occurred”); see also Harvey v. Lynch, 178 F. Supp. 3d 5 (D.D.C. 2016) (denying

a motion for attorneys’ fees where the government “initiated a search for responsive records . . .

shortly after [the plaintiff] submitted his request”).

        Second, Ms. Ezekwe’s declaration provides a detailed timeline of the steps the Department

of Education took from December 2021 to March 2023 to process SBPC’s request. See Ezekwe

Declaration ¶¶ 10–33. Days after receiving the FOIA request, the agency communicated with

SBPC about clarifications. Id. ¶¶ 10–11 (describing uncertainty about the date range and




                                                   9
      Case 1:23-cv-01780-SLS           Document 21        Filed 05/09/25      Page 10 of 17




subsequent emails to clarify). And in the months that followed, various offices at the agency

communicated about the request. Id. ¶¶ 12–22 (detailing communications between the Data

Research Team and others from January 2022 to April 2022 about the FOIA request). In April

2022, the Federal Student Aid program met with the Student Experience and Aid Delivery group

to discuss the scope of the request. Id. ¶ 23 (providing details about the meeting, which concluded

with the agency continuing to work to locate responsive records). Communications at the agency

continued after that meeting about responsive records. Id. ¶¶ 24, 25 (mentioning a June 24, 2022,

meeting where Federal Student Aid “internally deliberated” over “how to conduct an efficient

review”). Ms. Ezekwe’s declaration then describes a line-by-line review of three Microsoft Excel

spreadsheets with a combined total of 495 rows and over 13,000 pages. Id. ¶ 24. In September

2022, the agency worked to address redaction issues with certain records in Microsoft Excel.

Id. ¶ 26. And in November 2022, there were communications at the agency, including with its

General Counsel, about recommended redactions. Id. ¶ 28. From December 2022 to March 2023,

various personnel at the agency communicated about redactions and review of potentially

responsive documents. Id. ¶¶ 29–33 (discussing internal reviews of redactions and pending

feedback from senior leadership).

       Even SBPC describes the agency’s declaration as a “dizzying back-and-forth of internal

bureaucratic deliberations among multiple departments.” Pl.’s Reply at 4. It simply is not true that

the agency was ignoring SBPC’s FOIA request before this lawsuit. See Harvey, 178 F. Supp. 3d

at 7–8 (finding that “the [Bureau of Prison’s] declaration and the supporting evidence ma[d]e clear

[that] the bulk of the work to process [the] FOIA request had already been completed at the time

[the Plaintiff] filed suit” meaning that the lawsuit “at most, prompted the [agency] . . . to wrap up

work that had already been taken almost to completion”); see also Calypso Cargo Ltd., 850 F.




                                                 10
      Case 1:23-cv-01780-SLS            Document 21        Filed 05/09/25       Page 11 of 17




Supp. 2d at 5 (denying attorneys’ fees when the defendant “provided a detailed timeline of events

leading up to the release of the requested records” showing that “multiple divisions within the

Coast Guard had already begun coordinating and processing the plaintiffs’ request before plaintiffs

filed their lawsuit”). And this case is a far cry from cases finding that delay justified an award of

attorneys’ fees. See, e.g., Church of Scientology of Cal., 653 F.2d at 588 (finding “absolutely no

indication in the record that [the Defendant] would have actually searched the General Counsel’s

files or released any of the contents thereof in the absence of this litigation”).

       Third, Ms. Ezekwe’s declaration sets out important context about delays at the agency that

SBPC fails to acknowledge. Courts in this District consider whether a delay “may be due to factors

having nothing to do with the filing of the lawsuit but instead with administrative delays due to

backlogs of FOIA requests, the volume of responsive records requiring processing, the necessity

of inter-agency searches and responses, or a combination of these factors.” Dorsen v. United States

Sec. & Exch. Comm’n, 15 F. Supp. 3d 112, 118–19 (D.D.C. 2014). Any inference that an agency

was ignoring a FOIA request “is eroded, if not fully rebutted, when the agency provides an

alternative explanation for the delay.” First Look Media Works, Inc. v. U.S. Agency for Glob.

Media, No. 20-cv-3499, 2024 WL 4262773, at *4 (D.D.C. Sept. 23, 2024). That appears to be true

here. While the records requested are no doubt of public interest, the Department of Education

received over 2,000 FOIA requests in 2021 alone. See Ezekwe Declaration at ¶ 4 (citing

Department of Education, Freedom of Information Act Annual Report to the Attorney General of

the United States at 6 (2021), https://perma.cc/SVR9-DDLS). And the agency had reason to

prioritize FOIA requests submitted by other requestors along the way. See Ezekwe Declaration

¶ 18 (explaining that the FOIA Service Center “urgently ordered Federal Student Aid to prioritize

FOIA requests submitted by a different requestor and complete its response by April 1, 2022”);




                                                  11
      Case 1:23-cv-01780-SLS            Document 21        Filed 05/09/25       Page 12 of 17




see also id. ¶ 59 (noting the “very large FOIA demand” that the Department of Education has been

experiencing).

       The Court is not persuaded by SBPC’s arguments to the contrary. SBPC principally relies

on EPIC, where the plaintiff’s suit was the catalyst for the release of documents “because the

agency failed to respond to the plaintiff’s request or provide insight into a production schedule for

over eight months, and not until the plaintiff filed the lawsuit.” Pl.’s Mot. at 8–9 (citing Elec. Priv.

Info. Ctr. v. United States Dep’t of Homeland Sec. (EPIC), 218 F. Supp. 3d 27, 42 (D.D.C. 2016)).

But there, the agency provided “very little insight into what, if any, concrete steps the agency was

taking to address EPIC’s FOIA request.” EPIC, 218 F. Supp. at 42. The government’s declaration

was “devoid of details” and lacked “a plan of action or timeline for responding to the request.” Id.

In stark contrast, the Department of Education provided a sixteen-page declaration spelling out the

concrete steps it took to process SBPC’s FOIA request prior to this lawsuit.

       SBPC asks the Court to disregard Ms. Ezekwe’s declaration as impermissible hearsay. Pl.’s

Reply at 4. But courts in this District have universally rejected that argument in FOIA cases. See,

e.g., DiBacco v. Dep’t of the Army, 926 F.3d 827, 833 (D.C. Cir. 2019) (noting that although a

declaration included information “relayed” to the declarant by her subordinates, “declarations in

FOIA cases may include such information without running afoul of Rule 56”); see also Barnard

v. Dep’t of Homeland Sec., 598 F. Supp. 2d 1, 19 (D.D.C. 2009) (finding that a FOIA declarant’s

statements were not hearsay because they were based on her “familiar[ity] with the facts of th[e]

case [and] personal knowledge and experience, [and] review of documents kept in the course of

business”), see also Hainey v. U.S. Dep’t of the Interior, 925 F. Supp. 2d 34, 41 (D.D.C. 2013)

(rejecting a hearsay objection to a FOIA declarant as “without merit”); see also Carney v. U.S.

Dep’t of Justice, 19 F.3d 807, 813–14 (2d Cir. 1994) (“An affidavit from an agency employee




                                                  12
      Case 1:23-cv-01780-SLS           Document 21        Filed 05/09/25      Page 13 of 17




responsible for supervising a FOIA search is all that is needed to satisfy Rule 56(e); there is no

need for the agency to supply affidavits from each individual who participated in the actual

search.”) (citation omitted).

       SBPC also argues that the timeline of production is a “salient factor” in the attorney fees

analysis. See Pl.’s Mot. at 8. True, but it would be “improper” for this Court to simply “infer

causation from the timing of disclosure.” Citizens for Resp. and Ethics in Washington v. DOJ, 83

F. Supp. 3d 297, 303 (2015). “The D.C. Circuit has made clear that, in the FOIA attorneys’ fees

context, ‘the mere filing of the complaint and the subsequent release of the documents is

insufficient to establish causation.’” Dorsen, 15 F. Supp. 3d at 118. Put another way, a FOIA

plaintiff must show “more than post hoc, ergo propter hoc.” Pub. Law Educ. Inst. v. U.S. Dep’t of

Justice, 744 F.2d 181, 183 (D.C. Cir. 1984); see also Am. First Legal Found. v. U.S. Dep’t of

Energy, No. 22-cv-1888, 2024 WL 5484078, at *2 (D.D.C. Dec. 23, 2024) (quoting

Black’s Law Dictionary (12th ed. 2024) (defining “post hoc ergo propter hoc” as the “logical

fallacy of assuming that a causal relationship exists when acts or events are merely sequential”).

And “unadorned assertion[s]” that its lawsuit “served as a catalyst” because the agency responded

after the lawsuit was filed is all SBPC has offered. Conservation Force, 160 F. Supp. 3d at 207

(cleaned up). This is “precisely the type of conclusory post hoc argument that precedent rejects.”

Id. Courts may not award fees and costs automatically when an agency produces documents only

after a lawsuit. And although there was an excessive delay on the agency’s part in providing a

status update to SBPC prior to this lawsuit, a defendant’s “failure to communicate [during the pre-

filing period], while regrettable, does not alone overcome its assurances that it intended to process

[the request] and experienced delays due to backlog,” First Look Media Works, Inc., 2024 WL

4262773, at *4 (cleaned up).




                                                 13
      Case 1:23-cv-01780-SLS           Document 21        Filed 05/09/25       Page 14 of 17




       Ultimately, the Department of Education’s declarant has explained in great detail that the

agency acknowledged SBPC’s FOIA request and communicated an intent to comply with it, and

then worked on the request in earnest for more than a year before this lawsuit, all while juggling

thousands of other FOIA requests. The agency’s detailed timeline refutes SBPC’s claim that its

lawsuit caused the production of records. SBPC cannot establish eligibility for attorneys’ fees and

costs in these circumstances. If it is “‘unavoidable delay accompanied by due diligence in the

administrative process’ that caused the agency’s failure to respond in a timely fashion to the initial

FOIA request, and not the ‘threat of an adverse court order,’ then ‘it cannot be said that the

complainant substantially prevailed in [its] suit.’” Conservation Force, 160 F. Supp. 3d at 205

(collecting cases).

       B.      Sudden Acceleration

       SBPC also argues that the Department of Education’s “‘sudden acceleration’ to release a

substantial quantity of responsive, non-exempt documents after the lawsuit” demonstrated that the

lawsuit led to the agency’s compliance. Pl’s Mot. at 9. “An agency’s ‘sudden acceleration’ in

processing a FOIA request may lead to the conclusion that the lawsuit substantially caused the

agency’s compliance with FOIA.” First Look Media Works, Inc., 2024 WL 4262773, at *3; see

also Terris, Pravlik & Millian, LLP v. Ctrs. for Medicare & Medicaid Servs., 794 F. Supp. 2d 29,

38 (D.D.C. 2011) (“Sudden acceleration . . . might, in a given case, lead a court to conclude that,

despite the government’s protestation, the filing of the lawsuit was the real reason for that

acceleration.”). But that did not occur here.

       To prove that a “sudden acceleration” occurred, a FOIA plaintiff has the burden of showing

both that (1) “the agency decided against disclosure,” and (2) “that the agency did in fact accelerate

its response to the FOIA request[.]” See First Look Media Works, Inc., 2024 WL 4262773, at *4.




                                                 14
      Case 1:23-cv-01780-SLS          Document 21        Filed 05/09/25      Page 15 of 17




SBPC falls well short of this showing. In fact, SBPC devotes only a single sentence in its motion

arguing that a sudden acceleration occurred in this case. See Pl.’s Mot. at 9 (“Furthermore, [the

Department of Education’s] ‘sudden acceleration’ to release a substantial quantity of responsive,

non-exempt documents after the lawsuit was filed is even more of an inference that the suit

substantially caused [its] compliance with the request.”). On the other side, the agency’s

declaration makes crystal clear that the agency was working towards disclosure prior to the lawsuit.

See Ezekwe Declaration ¶¶ 8–13 (confirming receipt of the request and issuing an initial

determination letter). What SBPC describes as a “sudden acceleration” appears to be the result of

the agency’s work for more than a year prior to the lawsuit to search and review responsive records.

Id. ¶¶ 14–33 (detailing meetings, emails, and review processes taking place prior to the June 2023

lawsuit). The declaration also explains the reasons any delay, including a significant FOIA backlog

at the agency and internal decisions to prioritize other FOIA requests. Id. ¶¶ 4, 18, 59; see also

Terris, Pravlik & Millian, LLP, 794 F. Supp. 2d at 38 (referencing a “backlog . . . that has haunted

federal agencies since FOIA was enacted”) (citation omitted). And the declaration details the

agency’s process from June 2023 to July 2024, when it worked with SBPC to revise the FOIA

request, produce records, and answer SBPC’s questions. See Ezekwe Declaration ¶¶ 35–58. There

is no basis in this record “to overcome the presumptive ‘inference’ that [the agency] responded in

good faith to the plaintiff’s FOIA requests.” Inst. for Energy Rsch. v. Dep’t of Treasury, No. 22-




                                                15
      Case 1:23-cv-01780-SLS            Document 21        Filed 05/09/25      Page 16 of 17




cv-3653, 2024 WL 5118225, at *5 (D.D.C. Dec. 16, 2024). The Court therefore finds that SBPC

has failed to meet its burden under the statute. 2

                                                 ***

       The Court acknowledges the important work that SBPC does for student loan borrowers

across our country, particularly the organization’s goal of informing them of their rights. And it

does not endorse the Department of Education’s excessive delay in providing a status update to

SBPC while the agency was processing its request. But “causation . . . requires more than

correlation,” Codrea, 272 F. Supp. 3d at 53, and SBPC has not established causation. It is

noteworthy that the statutory provision permitting fees and costs “represents an intentional

deviation from the usual rule that each party pays its own attorneys’ fees.” Conservation Force,

160 F. Supp. 3d at 205 (citation omitted). So while Congress agreed that fees “may be awarded

with respect to FOIA litigation” to allow requesters to “vindicate their [FOIA] statutory rights,”

fees are not warranted if, as it turns out, “recourse to the judicial system was unnecessary.” Id.

Based on the record in this case, the Court finds that the agency would have complied with the

FOIA request absent this lawsuit. Ultimately, FOIA was enacted to allow the public to “pierce the

veil of administrative secrecy,” Dep’t of Air Force, 425 U.S. at 361 (citation omitted), and to

“ensure an informed citizenry, vital to the functioning of a democratic society,” NLRB, 437 U.S.

at 242. Here, it appears that it was the statute, and not the Court’s minor involvement, that elicited

the production of the agency’s records.


2
  Because SBPC has not substantially prevailed, the Court need not consider whether it should
exercise its discretion to award reasonable attorneys’ fees and costs. See Grand Canyon Tr. v.
Zinke, 311 F. Supp. 3d 381,392 (D.D.C. 2018) (noting that when a plaintiff fails to establish
eligibility, “entitlement to attorney’s fees and the reasonableness of the plaintiff’s request need not
be considered”). But the Court is dubious of the reasonableness of SBPC’s fees and costs given
that 69 percent of the $56,962.50 that SPBC requests was made up of “fees-on-fees,” i.e.,
attorneys’ fees to litigate this very motion. See Def.’s Opp’n at 5.


                                                     16
     Case 1:23-cv-01780-SLS          Document 21     Filed 05/09/25     Page 17 of 17




                                      CONCLUSION

      For the foregoing reasons, the Court denies the Plaintiff’s Motion for Attorney Fees and

Costs, ECF No. 18.

      A separate order will issue.




                                                  SPARKLE L. SOOKNANAN
                                                  United States District Judge

Date: May 9, 2025




                                             17
